Case 1:21-cv-01986-PKC-RLM Document 18 Filed 05/27/21 Page 1 of 3 PageID #: 311




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                                                May 27, 2021

VIA ECF
Honorable Pamela K. Chen
United States District Judge
United States District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re:       Gov't Emps. Ins. Co. v. Wallegood, Inc. et al.
          Docket No.: 1: 21-cv-01986-PKC-RLM

Dear Judge Chen:

Plaintiffs (“GEICO” or “Plaintiffs”), respectfully submit this letter in accordance with Rule 3.A. of
Your Honor’s individual rules. GEICO is prepared to promptly file a motion seeking an order
enjoining Defendants Wallegood, Inc. (“Wallegood”) and Aleksander Chernyshev (“Chernyshev”)
(collectively, “Defendants”) from pursuing collection of their fraudulent claims in other forums that
are identical to the issues in this action, which includes: (i) more than 70 collection arbitrations against
GEICO pending before the American Arbitration Association (the “Collection Arbitrations”); (ii)
more than 150 collection law suits against GEICO pending in New York City Civil Courts (the
“Collection Lawsuits”); and (iii) more than 600 claims that are have previously been denied by
GEICO, which the Defendants are likely to proceed to collect in arbitration or a civil court lawsuit.

Plaintiffs commenced this action to terminate an egregious “No-Fault” insurance fraud scheme,
whereby Defendants used Wallegood as a vehicle to submit massive amounts of fraudulent billing to
GEICO for medically unnecessary durable medical equipment and orthotic devices (collectively
“DME”). Specifically, since April 2018, Defendants submitted more than $1,500,000.00 in fraudulent
billing to GEICO purportedly to provide patients involved in automobile accidents in New York
(“Insureds”) with specific DME even though, in every case, the DME was medically unnecessary,
illusory, and otherwise not reimbursable. See D.E. 1, passim.

GEICO’s Complaint sets forth in granular detail the Defendants fraudulent scheme and its submission
to GEICO of more than $1.5 million in claims seeking “no-fault” insurance benefits for DME they
purportedly provided to Insureds. See D.E. 1, passim. The basis for GEICO’s claims against the
Defendants can be summarized as follows: (i) they misrepresented that the DME provided to Insureds
were medically necessary for each Insured when the prescriptions for DME were the result of
unlawful financial arrangements between them and healthcare providers, either directly or through
third-parties (see D.E. 1, ¶¶ 74-91); (ii) they misrepresented that the DME provided to Insureds was
medically necessary when the DME was medical unnecessary and provided pursuant to
predetermined fraudulent protocols (see D.E. 1., ¶¶ 92-200); (iii) they misrepresented that the DME
Case 1:21-cv-01986-PKC-RLM Document 18 Filed 05/27/21 Page 2 of 3 PageID #: 312




Honorable Pamela K. Chen
May 27, 2021
Page 2


was provided to Insureds was medically necessary when the DME purportedly provided was not
based upon prescriptions issued by a healthcare provider (see D.E. 1., ¶¶ 201-210); and (iv) they
misrepresented what kind of DME they provided to Insureds and the permissible reimbursement rates
that the Defendants could receive, to the extent that they actually provided DME to Insureds (see D.E.
1., ¶¶ 211-282). Each of these misrepresentations are described with significant particularity (see D.E.
1, passim.) and are an independent basis for GEICO’s causes of action, which include a claim for a
declaration that GEICO is not liable to pay any of the outstanding and unpaid billing that has been
submitted through Wallegood because of the fraud alleged in the Complaint. See D.E. 1., ¶¶ 298-305.

The fact that Defendants may claim they simply relied on prescriptions written for the DME is of no
moment because they still may not recover on those claims. See Gov’t Emps. Ins. Co. v. Big Apple
Med Equipment, Inc., Docket No. 1:20-cv-05786, D.E. 52 (E.D.N.Y. March 25, 2021) (granting
GEICO’s injunction to stay arbitrations brought by DME supplier); Gov. Emps. Ins. Co. v. Adv.
Labs, Docket No. 20-cv-02391-KAM-VMS (E.D.N.Y. December 1, 2020) (granting GEICO’s
injunction to stay arbitrations by a laboratory provider because there are serious questions going to
the merits of the action, and “defendants may be held liable for medically unnecessary services under
New York’s No-Fault insurance laws”); Long Is. Radiology v. Allstate Ins. Co., 36 A.D.3d 763, 764
(2d Dept. 2007) (holding that “[s]ince the defense of lack of medical necessity may indisputably be
raised by the defendants [insurers] against the injured party, it is available as against radiologists who
accept assignments of no-fault benefits”). Notably, Defendants’ wrongful conduct is not isolated or
occasional; Wallegood has submitted thousands of fraudulent charges totaling more than $1.5 million
since January 2018. Out of that amount, GEICO has voluntarily paid more than $171,000.00 and
there are presently over $750,000.00 in claims that have been submitted to GEICO but have not been
paid, approximately half of which are presently in dispute before the AAA and Civil Court.

Defendants should logically welcome opportunity to have their Collections Arbitrations, Collection
Lawsuits, and other pending claims adjudicated in a single forum, since the individual bills at issue
in the underlying Collections Arbitrations and Collection Lawsuits (the “Collection Proceedings”)
brought by Defendants are the very same bills that are at issue in GEICO’s declaratory judgment
claim in this case. However, the Defendants’ collection efforts in the Collection Proceedings are an
extension of their fraudulent conduct. As a result, GEICO intends to file a motion seeking an Order:
(i) staying all No-Fault insurance Collection Proceedings; and (ii) enjoining Defendants from
commencing any new No-Fault insurance collection arbitrations or civil court collection lawsuits
against GEICO, until resolution of the instant federal court action.

The decisions in this district have routinely issued stays of healthcare provider’s No-Fault collection
arbitrations and enjoined healthcare providers from commencing new No-Fault arbitration or state
court collection cases during the pendency of a plaintiff-insurer’s fraud and declaratory judgment
action. See Gov’t Emps. Ins. Co. v. Big Apple Med Equipment, Inc., Docket No. 1:20-cv-05786
(E.D.N.Y. March 25, 2021)(Chen, J.); Gov. Emps. Ins. Co. v. Adv. Labs, Docket No. 20-cv-02391-
KAM-VMS (E.D.N.Y. December 1, 2020)(Matsumoto, J.); Gov't Emps. Ins. Co. v. Moshe, 2020
Case 1:21-cv-01986-PKC-RLM Document 18 Filed 05/27/21 Page 3 of 3 PageID #: 313




Honorable Pamela K. Chen
May 27, 2021
Page 3


U.S. Dist. LEXIS 114100 (E.D.N.Y. June 29, 2020) (Block, J.); Gov’t Emps. Ins. Co. v. Strut, 2020
U.S. Dist. LEXIS 63396 (W.D.N.Y. April 10, 2020) (Scott, J.); Gov't Emps. Ins. Co. v. Wellmart
RX, Inc., 435 F. Supp. 3d 443, 445 (E.D.N.Y. 2020) (Matsumoto, J.); Gov’t Emples. Ins. Co. v. Cean,
2019 U.S. Dist. LEXIS 203298 (E.D.N.Y. November 22, 2019) (Chen, J.); State Farm Mut. Auto.
Ins. Co. v. Parisien, 352 F. Supp. 3d 215 (E.D.N.Y. 2018) (Glasser, J.); Gov't Employees Ins. Co. v.
Mayzenberg, 2018 U.S. Dist. LEXIS 195890(E.D.N.Y. November 16, 2018) (Glasser, J.); Gov't
Emples. Ins. Co. v. Strutsovskiy, 2017 U.S. Dist. LEXIS 178514 (W.D.N.Y. October 26, 2017)
(Vilardo, J.); Allstate Ins. Co. v. Elzanaty, 929 F. Supp. 2d 199, 217 (E.D.N.Y. 2013) (Spatt, J.);
Liberty Mut. Ins. Co. v. Excel Imaging, P.C., 879 F. Supp. 2d 243 (E.D.N.Y. 2012) (Weinstein, J.).

Courts have found under circumstances analogous to this action that GEICO demonstrated irreparable
harm sufficient to grant a stay because absent a stay, the collection proceedings is a waste of time and
resources and also invite inconsistent judicial outcomes when there is a pending federal action
regarding the same claims. See, e.g., Moshe, 2020 U.S. Dist. LEXIS 114100 at *3; Mayzenberg, 2018
U.S. Dist. LEXIS 195890 at * 14 - * 15; Parisien, 352 F. Supp. 3d at 23; Strutsovskiy, 2017 U.S.
Dist. LEXIS 178514 at * 18. Moreover, and to underscore the irreparable harm to GEICO absent a
stay, a money damage award or judgment is unlikely to provide adequate compensation to GEICO.
Wallegood no longer conducts business and is not operating at the address on file with the New York
State Department of State. Wallegood’s only source of assets are its accounts receivable, which are
the claims that are the subject of the Collection Proceedings. Without staying the pending Collections
Proceedings, GEICO will suffer irreparable harm because it is unlikely to satisfy a money damage
award or judgment because of Wallegood’s lack of assets. See Wellmart RX, 435 F.Supp.3d at 453.

For the reasons set forth in this letter, GEICO respectfully requests that a pre-motion conference be
conducted at the Court’s earliest convenience and/or that a briefing schedule be promptly adopted.

The Court’s attention to this matter is appreciated.


                                      Respectfully submitted,

                                      RIVKIN RADLER LLP
                                      /s/ Michael Vanunu
                                      Michael Vanunu

cc:      All counsel via ECF




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